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    LOS ANGELES COUNTY FIRE DEPARTMENT, JOEY CRUZ, RAFAEL
 15 MEJIA, MICHAEL RUSSELL, and RAUL VERSALES
 16
                            UNITED STATES DISTRICT COURT
 17
                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 18
 19
    VANESSA BRYANT, a California                  CASE NO. 2:20-cv-09582-JFW-E
 20 resident,
                                                  DECLARATION OF
 21                                               MIRA HASHMALL IN SUPPORT
                 Plaintiff,
                                                  OF DEFENDANTS’ OPPOSITION
 22                                               TO PLAINTIFF’S MOTION TO
          v.                                      MODIFY THE COURT’S
 23                                               SCHEDULING ORDER
    COUNTY OF LOS ANGELES, a
 24 public entity, et al.,
                                                  Judge:    Hon. John F. Walter
 25                                               Date:     June 7, 2021
                 Defendants.
 26                                               Time:     1:30 PM
                                                  Crtrm.:   7A (First Street Courthouse)
 27
 28
      513719.1                                                   Case No. 2:20-cv-09582-JFW-E
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  1                           DECLARATION OF MIRA HASHMALL
  2              I, Mira Hashmall, declare as follows:
  3              1.    I am an attorney duly admitted to practice before this Court. I am a
  4 partner with Miller Barondess, LLP, counsel of record for Defendants County of
  5 Los Angeles (“County”), Los Angeles County Fire Department (“LACFD”), Joey
  6 Cruz, Rafael Mejia, Michael Russell, and Raul Versales (collectively,
  7 “Defendants”). I have personal knowledge of the facts set forth herein, and if called
  8 as a witness, I could and would competently testify to all of said facts. I make this
  9 declaration in support of Defendants’ opposition to Plaintiff’s motion to modify the
 10 Court’s scheduling order.
 11              Procedural History
 12              2.    On September 17, 2020, Plaintiff filed a complaint in Los Angeles
 13 Superior Court. On October 19, 2020, the County removed the case to this Court.
 14 [Dkt. 1.] On November 18, 2020, the Court dismissed the Doe Defendants. [Dkt.
 15 28.] On December 14, 2020, the Court granted the parties’ stipulation to continue
 16 Plaintiff’s deadlines to join parties and amend her Complaint. [Dkt. 37.]
 17              3.    On December 28, 2020, the Court granted the County’s motion to
 18 dismiss Sheriff Villanueva from the case, holding: “It defies common sense that
 19 Sheriff Villanueva’s instruction to delete the photos would somehow increase the
 20 risk of public dissemination of those very same photos or that Sheriff Villanueva’s
 21 conduct would cause Plaintiff additional emotional distress. [Dkt. 46.]
 22              4.    On March 17, 2021, Plaintiff filed the FAC. [Dkt. 54.] The FAC
 23 asserts claims for violation of the Fourteenth Amendment (42 U.S.C. § 1983),
 24 negligence and invasion of privacy. The FAC also added LACFD and four deputies
 25 (“Deputy Defendants”) as defendants. [Id.] The Court denied the County’s motion
 26 to keep the Deputy Defendants’ names sealed. [Dkt. 53.] Plaintiff posted the
 27 Deputy Defendants’ names online, and they were subjected to harassment and
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  1 threats. Examples are attached hereto as Exhibit A. Redactions have been made to
  2 limit the amount of personal information in the postings.
  3              The Forensic Protocol
  4              5.   Sheriff’s Villanueva’s instruction to delete accident site photographs
  5 was public knowledge before Plaintiff’s lawsuit was filed (and was part of
  6 Plaintiff’s initial complaint). Nonetheless, the County understood that Plaintiff
  7 wanted to confirm that all accident site photographs depicting human remains had
  8 been deleted. To facilitate that process, the County sent Plaintiff a draft forensic
  9 examination protocol, to facilitate examination of phones and protect the privacy
 10 rights of the involved personnel, on November 16, 2020. Attached hereto as
 11 Exhibit B is a true and correct copy of the November 16, 2020 email. To limit the
 12 burden on the Court, we have not included multiple copies of the proposed forensic
 13 examination protocol that was attached to the emails in connection with our repeated
 14 efforts to confer with Plaintiff’s counsel about this issue.
 15              6.   Plaintiff never provided comments, despite the County raising the issue
 16 at least once a month between November 16, 2020 and present. Attached hereto as
 17 Exhibit C are true and correct copies of examples of the emails between Plaintiff
 18 and the County about the forensic examination protocol.
 19              The IAB Report/LACFD Investigation Reports
 20              7.   Labor unions raised privacy and confidentiality objections about the
 21 potential production of the IAB Report. The County recognized the importance of
 22 the IAB Report, however, and worked with Plaintiff to get a motion to compel ruled
 23 on promptly. The County produced the IAB Report on January 6, 2021.
 24              8.   Plaintiff has had the LACFD investigation reports since March 22,
 25 2021, just one week after Plaintiff added LACFD to the lawsuit. Plaintiff did not
 26 serve any actual discovery on LACFD until April 5, 2021.
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  1        Written Discovery
  2        9.     Plaintiff has served 126 RFPs. Defendants have completed
  3 seven document productions containing 29,941 pages of documents.
  4        10.    Plaintiff has served interrogatories. Defendants have responded to each
  5 one. Based on Defendants’ interrogatory responses, Plaintiff knows that only one
  6 non-governmental individual saw accident site photographs depicting human
  7 remains. Because of how Plaintiff phrased her interrogatories, responses include
  8 names of first responders who took accident site photographs not depicting human
  9 remains and those who shared accident site photographs with other personnel and
 10 agencies (like NTSB) for official purposes.
 11        Depositions
 12        11.    Plaintiff has noticed five depositions. The parties have completed two
 13 third-party depositions, and have two more scheduled for May 20 and June 3, 2021.
 14 Plaintiff has not noticed other depositions. The County suggested coming up with a
 15 deposition schedule for the summer, but Plaintiff did not respond.
 16        Plaintiff’s Meet and Confer Efforts
 17        12.    Plaintiff’s meet and confer efforts in this case have included:
 18 (i) arguing over the County’s general objections and preliminary statement;
 19 (ii) questioning each of the County’s specific objections, even when the County was
 20 providing substantive responses and not withholding information; (iii) asking the
 21 County to add information Plaintiff already knew about to interrogatory responses;
 22 (iv) insisting the parties put together a “document production protocol” even after
 23 Defendants had completed seven document productions; and (v) stalling on said
 24 “document production protocol” for weeks.
 25        Scheduling Order Deadlines
 26        13.    Defendants have been leading the charge to complete discovery and
 27 comply with this Court’s scheduling order. For example, Plaintiff gave Defendants
 28 the runaround for months on scheduling a mediation in advance of the June 7, 2021
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  1 deadline. Defendants ended up having to reserve and then cancel mediations due to
  2 Plaintiff’s refusal to respond to email requests.
  3              Plaintiff’s Discovery Responses
  4              14.      In connection with her own discovery responses, Plaintiff has taken the
  5 following positions: (i) Plaintiff does not need to produce documents until
  6 Defendants have completed all their document productions; (ii) contention
  7 interrogatories are premature and inappropriate; (iii) separate defendants cannot
  8 serve their own discovery (even though Plaintiff served each defendant with
  9 discovery); and (iv) Defendants are not entitled to any of Plaintiff’s communications
 10 relating to her very public comments on this litigation.
 11              Overview of Discovery
 12              15.      A general overview of the discovery timeline in this case is:
 13                     November 16, 2020: the County sends Plaintiff a draft forensic protocol
 14                       to protect privacy rights and facilitate examination of phones to
 15                       confirm the photographs were deleted.
 16                     December 7, 2020: the County works with Plaintiff to promptly file a
 17                       motion to compel, based on an RFP it had received the day prior, so the
 18                       IAB Report could be produced promptly.
 19                     January 6, 2021: the County produces the IAB Report and follows up
 20                       about the draft forensic protocol.
 21                     March 17, 2021: Plaintiff files the FAC, adding LACFD and the four
 22                       individual defendants.
 23                     March 22, 2021: the County produces the LACFD investigation
 24                       reports.
 25                     April 6, 2021: the County emails Plaintiff—”We are now in receipt of
 26                       multiple sets of inspection demands (all attached here), but have not
 27                       heard anything about the protocol we sent in November. We cannot
 28                       move forward with a forensic examination without a protocol in
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  1                    place. Please let us know your thoughts on our draft (reattached here),
  2                    and feel free to send the protocol you mentioned in your March 10
  3                    email if you’d like us to consider your version. Let’s get this moving
  4                    forward.”
  5                  May 3, 2021: the County’s last email to Plaintiff regarding the forensic
  6                    protocol, asking for comments on the draft protocol sent in November
  7                    2020 and suggesting the parties tee the issue up for the Magistrate
  8                    Judge “ASAP.”
  9                  November 2020-Present: the County sends approximately 10 emails
 10                    asking for comments on the forensic protocol.
 11                  January 2021-Present: Defendants complete seven document
 12                    productions containing 29,941 pages of documents.
 13              I declare under penalty of perjury under the laws of the United States of
 14 America that the foregoing is true and correct.
 15              Executed on this 17th day of May 2021, at Los Angeles, California.
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 18                                                  Mira Hashmall
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  1                               INDEX OF EXHIBITS TO
  2                    THE DECLARATION OF MIRA HASHMALL
  3        Ex.                           Description                             Pg. No.
  4        No.
                  Redacted copies of harassment and threats in response to
  5         A.                                                                     8-22
                  Plaintiff posting the Deputy Defendants’ names online
  6               November 16, 2020 email from the County to Plaintiff’s
            B.                                                                    23-37
  7               counsel
  8               Examples of the emails between Plaintiff and the County
            C.                                                                    38-47
                  about the forensic examination protocol
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